                                     UNITED STATES DISTRICT COURT
                                      DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA                                      MAG. JUDGE NO.

         V.                                                   CRIMINAL NO. 19-10438-GAO
DECLAN HAARINGTON


                                      ORDER OF EXCLUDABLE DELAY

          In accordance with the Speedy Trial Act of 1974, as amended, this Court hereby orders excludable delay for
the time periods and for the reasons checked below.


3/3/21                                                                    /s/ George A. O’Toole, Jr
          Date                                                          U.S. District Judge    [x ]
                                                                        U.S. Magistrate Judge [ ]


REFER TO DOCUMENT(S) #


[ ]      XA                      Proceedings including examinations to determine                18 U.S.C.§3161(h)(1)(A)
                                 mental competency or physical capacity
[   ]    XC                      Trial on other charges against defendant                       18 U.S.C.§3161(h)(1)(B)
[   ]    XD                      Interlocutory Appeal                                           18 U.S.C.§3161(h)(1)(C)
[   ]    XE                      Pretrial motions from filing date to hearing or disposition    18 U.S.C.§3161(h)(1)(D)
[   ]    XF                      Transfer (Rule 20) or Removal (Rule 5) proceedings             18 U.S.C.§3161(h)(1)(E)
[   ]    XG                      Proceedings under advisement                                   18 U.S.C.§3161(h)(1)(H)
[   ]    XH                      Miscellaneous proceedings concerning defendant                 18 U.S.C.§3161(h)(1)
[   ]    XI                      Prosecution deferred                                           18 U.S.C.§3161(h)(2)
[   ]    XJ                      Transportation from other district                             18 U.S.C.§3161(h)(1)(F)
[   ]    XK                      Consideration of proposed plea agreement                       18 U.S.C.§3161(h)(1)(G)
[   ]    XM                      Absence or unavailability of defendant or essential            18 U.S.C.§3161(h)(3)
                                 government witness
[ ]      XN                      Period of mental or physical incompetency or physical          18 U.S.C.§3161(h)(4)
                                 inability to stand trial
[ ]      XP                      Superseding indictment and/or new charges                      18 U.S.C.§3161(h)(5)
[ ]      XR                      Defendant joined with co-defendant for whom time has not run   18 U.S.C.§3161(h)(6)
[ ]      XU                      Time from first arraignment to withdrawal of guilty plea       18 U.S.C.§3161(i)
[ ]      XW                      Grand Jury indictment time extended                            18 U.S.C.§3161(b)
[x ]     XT 3/3/21-3/11/21       Continuance granted in the interest of justice                 18 U.S.C.§3161(h)(7)(A)




(Xdelay-all.wpd - 5/12/2010)
